USA v. Jonathan Lee Riches Case Number: CR-18-01369-

   
      
 

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UNITED STATES DISTRICT COURT
ARIZONA — TUCSON

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September 14, 2018

 

ORDER SETTING CONDITIONS OF RELEASE

Defendant is ORDERED released on PERSONAL RECOGNIZANCE (O/R).

NEXT APPEARANCE: as directed by the Court.

DEFENDANT IS SUBJECT TO THE FOLLOWING CONDITIONS:

1,

Defendant promises to appear at all proceedings as required and to surrender for service of any
sentence imposed.

Defendant shall not commit any federal, state or local crime.

. Defendant shall cooperate in the collection of a DNA sample if the collection is authorized by

42 U.S.C. § 14135a.

Defendant shall IMMEDIATELY advise his/her attorney and Pretrial Services, in writing,
PRIOR TO any change in residence address, mailing address or telephone number.

Defendant shall report as directed to the U.S. PRETRIAL SERVICES 1-800-758-7505 or
520-205-4350; 405 W. Congress St., Suite 2633.

Defendant shall not possess any firearm, destructive device, or other dangerous weapon or
ammunition.

Defendant shall participate in a mental health treatment program as directed by Pretrial
Services, and comply with all the treatment requirements including taking all medication
prescribed by the mental health care provider, and make copayment toward the cost of such
services as directed by Pretrial Services.

ADVICE OF PENALTIES AND SANCTIONS

Violation of any of the foregoing conditions of release may result in the immediate issuance of a
warrant for the defendant's arrest, a revocation of release, an order of detention, as provided in 18
U.S.C. §3148, forfeiture of bond, and a prosecution for contempt as provided in 18 U.S.C. §401 which
could result in a possible term of imprisonment or a fine, or both. The commission of any offense
while on pretrial release may result in an additional sentence upon conviction for such offense to a term
of imprisonment of not less than two years nor more than ten years, if the offense is a felony; or a term

CC:

Pretrial Services, USM
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of imprisonment of not less than ninety days nor more than one year, if the offense is a misdemeanor.
This sentence shall be consecutive to any other sentence and must be imposed in addition to the .
sentence received for the offense itself.

18 U.S.C. §1503 makes it a criminal offense punishable by up to five years of imprisonment and a
$250,000 fine to intimidate or attempt to intimidate a witness, juror or officer of the court; 18 U.S.C.
§1510 makes it a criminal offense punishable by up to five years of imprisonment and a $250,000 fine
to obstruct a criminal investigation; 18 U.S.C. §1512 makes it a criminal offense punishable by up to
ten years of imprisonment and a $250,000 fine to tamper with a witness, victim or informant; and 18
U.S.C. §1513 makes it a criminal offense punishable by up to ten years of imprisonment and a
$250,000 fine to retaliate against a witness, victim or informant, or threaten or attempt to do so.

It is a criminal offense under 18 U.S.C. §3146, if after having been released, the defendant knowingly
fails to appear as required by the conditions of release, or to surrender for the service of sentence
pursuant to a court order. If the defendant was released in connection with a charge of, or while
awaiting sentence, surrender for the service of a sentence, or appeal or certiorari after conviction, for:

‘(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen
years or more, the defendant shall be fined not more than $250,000 or imprisoned for not
more than ten years, or both:

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen
years, the defendant shall be fined not more than $250,000 or imprisoned for not more than
five years or both;

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(3) any other felony, the defendant shall be fined not more than $250,000 or imprisoned not
more than two years, or both; >

(4) a misdemeanor, the defendant shall be fined not more than $100,000 or imprisoned not more
than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be consecutive to the
sentence of imprisonment for any-other offense. In addition, a failure to appear may result in the
forfeiture of any bail posted.

ACKNOWLEDGMENTS
I, the Defendant, acknowledge I am aware of the conditions of my release. I promise to obey all
conditions, appear as directed and surrender for service of any sentence imposed. I am aware of the
penalties and sanctions set forth above.

 

 

 

 

f SIGNATURE ADDRESS AND PHONE NUMBER OF DEFENDANT
4 ( dl] [ p XE c _ Ref Pretrial Services Report - not public record
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This order authorizes the U.S. Marshal to release the defendant from custody.

Bond set by: Bruce G. Macdonald Defendant released by: Bruce G. Macdonald

 

Signed before me on this date: 9/14/2018

By U.S. Magistrate Judge: (se YS. (ou 20f)

Witnessed and acknowledged befoge¢;
DATE SIGN OF WITNESS
VAG

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